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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK

-------------------------------------x
                                     :
CHEVRON CORPORATION,                 :
                                     :
               Plaintiff,
                                     :
     v.                              : 11 Civ. 0691 (LAK)
                                     :
STEVEN DONZIGER, et al.,             :
                                     :
               Defendants.           :
                                     :
-------------------------------------x


    MEMORANDUM OF LAW IN SUPPORT OF CHEVRON CORPORATION’S
           MOTION FOR ENTRY OF DEFAULT JUDGMENT




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                               PRELIMINARY STATEMENT

        On March 4, 2014, following a seven-week trial, this Court issued an opinion and judg-

ment finding Steven Donziger and his law firm liable for racketeering and fraud as a result of his

scheme to extort billions of dollars from Chevron Corporation (“Chevron”), which included the

corrupt procurement of a multi-billion-dollar Ecuadorian judgment. To remedy this misconduct,

the Court issued equitable relief against Donziger and the appearing Lago Agrio Plaintiffs, Hugo

Gerardo Camacho Naranjo, and Javier Piaguaje Payaguaje (collectively with Donziger, the “Ap-

pearing Defendants”). Dkts. 1874, 1875. The Second Circuit has since unanimously affirmed

this Court’s judgment in all respects, and the Supreme Court has denied certiorari. Chevron

Corp. v. Donziger, 833 F.3d 74 (2d Cir. 2016), reh’g denied (Oct. 27, 2016), cert. denied, 137

S.Ct. 2268 (2017). This Court should now grant Chevron default judgments against the remain-

ing Defendants who have defaulted in this case (the “Defaulted Defendants”).1




 1
     The Defaulted Defendants are: Pablo Fajardo Mendoza, Luis Yanza, Frente de Defensa de la
     Amazonia (the “Frente”), Selva Viva Selviva Cia, Ltda. (“Selva Viva”), and the 45 non-
     appearing Lago Agrio Plaintiffs (“LAPs”): Maria Aguinda Salazar, Carlos Grefa Huatatoca,
     Catalina Antonia Aguinda Salazar, Lidia Alexandra Aguinda, Patricio Alberto Chimbo
     Yumbo, Clide Ramiro Aguinda, Luis Armando Chimbo Yumbo, Beatriz Mercedes Grefa
     Tanguila, Lucio Enrique Grefa Tanguila, Patricio Wilson Aguinda, Celia Irene Viveros Cu-
     sangua, Francisco Matias Alvarado Yumbo, Francisco Alvarado Yumbo, Olga Gloria Grefa
     Cerda, Lorenzo Jose Alvarado Yumbo, Narcisa Aida Tanguila Narvaez, Bertha Antonia
     Yumbo Tanguila, Gloria Lucrecia Tanguila Grefa, Francisco Victor Tanguilla Grefa, Rosa
     Teresa Chimbo Tanguila, Jose Gabriel Revelo Liore, Maria Clelia Reascos Revelo, Maria
     Magdalena Rodriguez Barcenes, Jose Miguel Ipiales Chicaiza, Heleodoro Pataron Guaraca,
     Luisa Delia Tanguila Narvaez, Lourdes Beatriz Chimbo Tanguila, Maria Hortencia Viveros
     Cusangua, Segundo Angel Amanta Milan, Octavio Ismael Cordova Huanca, Elias Roberto
     Piyahuaje Payahuaje, Daniel Carlos Lusitande Yaiguaje, Benancio Fredy Chimbo Grefa,
     Guillermo Vicente Payaguaje Lusitante, Delfin Leonidas Payaguaje, Alfredo Donaldo Paya-
     guaje, Teodoro Gonzalo Piaguaje Payaguaje, Miguel Mario Payaguaje, Fermin Piaguaje Pa-
     yaguaje, Reinaldo Lusitande Yaiguaje, Luis Agustin Payaguaje Piaguaje, Emilio Martin Lu-
     sitande Yaiguaje, Simon Lusitande Yaiguaje, Armando Wilfrido Piaguaje Payaguaje, and
     Angel Justino Piaguage Lucitante. See Dkt. 205 at 1.


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        The Defaulted Defendants—in particular Fajardo, Yanza, the Frente, and Selva Viva (the

“Defaulted RICO Defendants”)—have played and continue to play an integral role in Defend-

ants’ scheme. And the remaining individual LAP Defendants continue to permit their names to

be used in efforts to injure Chevron and wrongfully capitalize on the corrupt Ecuadorian judg-

ment. Basic notions of fairness and justice demand that they cannot escape liability by strategi-

cally choosing to ignore these proceedings. The Defaulted Defendants failed to respond to either

Chevron’s Complaint or the Amended Complaint. Therefore, as a matter of law, they have ad-

mitted all of the allegations against them. Moreover, the extensive evidence that Chevron pre-

sented at trial confirmed the truth of Chevron’s allegations against the Defaulted Defendants.

        The trial evidence that this Court received and evaluated proves with more than a reason-

able certainty Chevron’s entitlement to the same equitable relief as issued with respect to the

Appearing Defendants. The Court should therefore issue a default judgment against all of the

Defaulted Defendants that includes the same equitable relief as in the judgment against the Ap-

pearing Defendants. Upon entry of default judgments, Chevron intends to seek an award of at-

torney’s fees and costs against the Defaulted RICO Defendants, as appropriate.2

                                   STATEMENT OF FACTS

A.      The Defaulted Defendants Were Properly Served but Failed to Respond to
        Chevron’s Complaint

        Chevron filed its Complaint on February 1, 2011. It alleged an extensive conspiracy to

corrupt judicial proceedings in Ecuador and to extort a multi-billion-dollar payment from Chev-

ron through a fraudulent scheme. Dkt. 1; Dkt. 206 ¶ 3.



 2
     Upon the entry of the default judgment, Chevron intends to file an application seeking costs
     against the Defaulted RICO Defendants and a motion seeking an award of attorneys’ fees,
     pursuant to 18 U.S.C. § 1964(c). See L. Civ. R. 54.1 (applications for costs should be filed
     “[w]ithin thirty (30) days after the entry of final judgment”).
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       This Court authorized service of the Summons and Complaint “by hand, facsimile, email

or overnight mail . . . .” Dkt. 4 at 4. Chevron served the Defaulted Defendants with the Sum-

mons, Complaint, and other supporting papers by overnight mail on February 3, 2011, and by

email on February 4, 2011. Dkt. 205 at 4-5; Dkt. 75 ¶ 4. Chevron also personally served the

Frente on February 14, 2011, and it personally served Yanza and Fajardo individually and on be-

half of the LAPs on February 15, 2011. Dkt. 205 at 6; Dkt. 206 ¶ 9.

       On February 24, 2011, Fajardo sent this Court a letter in which he claimed he was the

“lawyer for the Ecuadorian nationals and organizations,” and requested on behalf of himself and

the “Ecuadorian defendants” an “extension of time to respond to the complaint . . . .” Dkt. 128.

The Court rejected Fajardo’s attempt to appear on behalf of the Ecuadorian defendants other than

himself because he was not licensed to practice in New York, noting that “[t]hese other Ecuado-

rian defendants have been represented by various licensed attorneys in related proceedings in this

Court over the years.” Dkt. 127 at 1 & n.2. The Court, however, did extend the time for De-

fendants to respond to the Complaint until March 1, 2011. Id. at 2.

       In addition to Fajardo’s letter, Yanza and a number of the defaulting LAPs acknowledged

this lawsuit at a press conference (Dkt. 110-12), and several of the defaulting LAPs were filmed

by their agents acknowledging receipt of Chevron’s Complaint. Dkt. 205 at 5-6. The Defaulted

Defendants failed, however, to answer or otherwise respond to the Complaint. Id. at 6-7. The

fact that a number of the Defaulted Defendants publicly acknowledged receipt of the Complaint

shows that their default was willful and knowing, and not the result of a mistake or failed com-

munication.

       On March 7, 2011, this Court issued a decision on Chevron’s request for a preliminary

injunction, noting that “[t]he Ecuadorian defendants were served with the summons and com-



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plaint, pursuant to the order to show cause, on February 4, 2011. They therefore had until Feb-

ruary 25, extended by the Court until March 1, to answer or move with respect to the complaint.

None but the LAP Representatives did either.” Dkt. 181 at 99-100 (citations omitted); see also

Dkt. 1874 at 298 (“All defendants were duly served.”).

        On March 11, 2011, the Clerk of the Court certified that the Defaulted Defendants “are in

default for failing to timely answer or otherwise respond to the complaint.” Dkt. 206-18 at 2.

That same day, Chevron requested entry of default against the Defaulted Defendants. Dkt. 205.

The Clerk entered a Certificate of Default, effective March 11, 2011. Dkt. 469.

        On April 20, 2011, Chevron filed its Amended Complaint. Dkt. 283. The Amended

Complaint did not include any “new claim for relief,” but merely added additional specificity

and detail to some of the allegations. Thus, Chevron was not required to serve the Amended

Complaint on the Defaulted Defendants. See Fed. R. Civ. P. 5(a)(2) (“No service is required on

a party who is in default for failing to appear. But a pleading that asserts a new claim for relief

against such a party must be served on that party under Rule 4.”).3

        Although they refused to appear in this Court, several of the Defaulted Defendants pub-

licly acknowledged that they were aware of the proceedings and even assisted the Appearing De-

fendants, underscoring the willful nature of their default. See, e.g., Dkt. 1529 at 4 (“Fajardo, the

ADF, Yanza, and Selva Viva . . . continue to assist in the defense.”).4 For instance, minutes from



 3
     Although default was already entered as to the Defaulted Defendants before the filing of the
     Amended Complaint, out of an abundance of caution Chevron is concurrently filing a request
     for the clerk to enter default as to the Defaulted Defendants with respect to the Amended
     Complaint.
 4
     See also Dkt. 841-2 at 4 (Feb. 18, 2013 Fajardo letter) (“It is surprising to know that Kaplan
     has been capable of making known his opinion that the court order issued on January 15,
     2013 at 1:57 p.m. by the Labor Court Judge of Sucumbios constitutes part of the alleged
     fraud.”); Dkt. 952 ¶ 2 (LAPs’ attorney, Craig Smyser, acknowledging that he “participated in
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a January 15, 2013 meeting of the “Union of People Affected by the Petroleum Operations of

Texaco” show that Donziger updated the meeting participants, which included Fajardo and Yan-

za, on the proceedings of the “RICO case.” Declaration of Randy M. Mastro (“Mastro Decl.”),

Exhibit 4 (PX 7033A) at 2-3 (“Chevron has accused Luis [Yanza], Pablo [Fajardo], myself and

the consultants of committing fraud.”). And in October 2013, Fajardo issued a press release tout-

ing the report of supposed Ecuadorian computer expert Milton Efrain Jacque Tarco, in an effort

to rebut Chevron’s allegations that Defendants ghostwrote the judgment: “‘This report destroys

the arguments by the oil company that are accusations that the judgment was drafted by third

parties and ratifies that the truth always prevails[.]’” Id., Ex. 5 (PX 7086).

B.      Chevron’s Claims Against the Defaulted Defendants

        Chevron’s Complaint alleged nine claims for relief, including violations of 18 U.S.C.

§ 1964(c) (civil RICO) and 18 U.S.C. § 1962(d) (conspiracy to violate RICO); fraud; civil con-

spiracy; and violations of New York Judiciary Law section 487. Dkt. 1. The Amended Com-

plaint alleged the same claims for relief. Dkt. 283.

        Chevron brought its RICO claims against the four Defaulted RICO Defendants: Fajardo,

Yanza, the Frente, and Selva Viva. Chevron alleged that the Defaulted RICO Defendants, along

with Donziger and others, “conspired to engage in a pattern of racketeering activity, have each

committed numerous criminal acts as part of their scheme to defraud and extort Chevron, and

have each participated in the operation or management of the criminal enterprise.” Dkt. 1 ¶ 7;

Dkt. 283 ¶ 7; see also Dkt. 1 ¶¶ 10-13; Dkt. 283 ¶¶ 11-14.


     a phone call with Pablo Fajardo” in which he “suggested that . . . the best way to resolve the
     issue [of Chevron’s motion to compel] would be to ask an Ecuadorian court for a ruling on
     the rights and obligations of the lawyers and the clients in this relationship governed by Ec-
     uadorian law.”); Dkt. 905 at 48-49 (finding that the Ecuadorian order behind which the LAPs
     attempted to shield their refusal to produce Ecuadorian documents was “obviously . . . collu-
     sive” and “troublesome”).
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       For instance, the Complaint and the Amended Complaint both alleged that Fajardo “has

served as one of the heads of the criminal enterprise in the U.S. and Ecuadorian media” (Dkt. 1

¶ 306(b); Dkt. 283 ¶ 342(b)), has participated in “a campaign of public attacks based on false and

misleading statements about Chevron and the Lago Agrio Litigation” (Dkt. 1 ¶ 332; Dkt. 283 ¶

368), and has “planned and coordinated the ghostwriting of the Cabrera Report” (Dkt. 1

¶ 306(b); Dkt. 283 ¶ 342(b)). Chevron further alleged that Fajardo submitted false and mislead-

ing declarations in the United States and Ecuador, which “perpetuated [Defendants’] false ver-

sion of events, hiding their relationship with Cabrera and claiming that he was ‘independent.’”

Dkt. 1 ¶ 252; Dkt. 283 ¶ 273.

       Chevron also alleged that Yanza and the Frente have been responsible for “exerting in-

fluence over and colluding with the Ecuadorian government and court officials,” and “have made

false statements to Chevron stockholders, financial analysts, investors, and/or state and federal

agencies.” Dkt. 1 ¶ 306(c); Dkt. 283 ¶ 342(c); see also Dkt. 1 ¶¶ 333-34; Dkt. 283 ¶¶ 369-70.

“Defendant Selva Viva has served as a conduit for funding and otherwise furthering Defendants’

criminal enterprise” (Dkt. 1 ¶ 306(d); Dkt. 283 ¶ 342(d)) and “distribut[ed] those funds to fi-

nance the RICO Defendants’ illegal scheme.” Dkt. 1 ¶ 335; Dkt. 283 ¶ 371.

       Chevron further alleged that, because of the RICO Defendants’ fraud before the Lago

Agrio court, Chevron was entitled to a “permanent injunction that enjoins Defendants” from

seeking to enforce the Lago Agrio judgment. Dkt. 1 ¶ 359; Dkt. 283 ¶ 395. And Chevron ex-

pressly requested “equitable relief as appropriate pursuant to applicable law,” including “a per-

manent injunction” preventing any of the Defendants, including the LAPs, from enforcing the

corrupt Ecuadorian judgment. Dkt. 1 at Prayer for Relief, ¶ 5; Dkt. 283 at Prayer for Relief, ¶ 5.




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        As alleged in the Complaint and Amended Complaint, the purpose of the RICO Defend-

ants’ lies was to “force Chevron into a payoff” (Dkt. 1 ¶ 67; Dkt. 283 ¶ 69) by fraudulently “‘get-

ting a huge multi-billion-dollar judgment at trial[.]’” Dkt. 1 ¶ 68; Dkt. 283 ¶ 70. The RICO De-

fendants exploited the “systemic weakness and corruption” in Ecuador’s judiciary by “threaten-

ing violence, bullying judges, and using political connections to obtain rulings in their favor

based on the judges’ fear of repercussions rather than the facts or law.” Dkt. 1 ¶ 70; Dkt. 283 ¶

72.    The RICO Defendants also improperly influenced the judge presiding over their case

through improper “ex parte meetings” and blackmail. Dkt. 1 ¶ 75; Dkt. 283 ¶ 78.

        The RICO Defendants’ scheme involved obtaining false and misleading expert testimony

as a key part of ultimately obtaining a fraudulent judgment against Chevron. The RICO Defend-

ants pressured David Russell into developing an “exaggerated damages estimate and continued

to ‘use it to put out a figure that will scare Chevron and investors,’ long after Russell sent

Donziger a cease and desist letter demanding that he stop using the estimate.” Dkt. 1 ¶ 92; Dkt.

283 ¶ 101 (quoting PX 817). They also “submitted [to the Lago Agrio court] falsified expert re-

ports under the name of . . . Dr. Charles Calmbacher, that contradicted his conclusions that he

had found no evidence of harm.” Dkt. 1 ¶ 100; Dkt. 283 ¶ 109. To do so, “[t]he conspirators

printed their fraudulent reports on the pages that Dr. Calmbacher had initialed, used the signature

pages that he had provided, and filed the forged reports with the court in Lago Agrio.” Dkt. 1

¶ 111; Dkt. 283 ¶ 120. Even though Chevron “informed the Lago Agrio court about the falsified

Calmbacher reports, [the court] refused to remove his reports from the record or take any correc-

tive measures.” Dkt. 1 ¶ 112; Dkt. 283 ¶ 121. The Complaint also alleged that “the RICO De-

fendants and their co-conspirators conspired with officials from the Republic of Ecuador to ad-

vance baseless criminal prosecutions against Ricardo Reis Veiga and Rodrigo Perez Pallares,



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lawyers responsible for executing the 1998 Final Release that precludes Defendants’ claims

against Chevron in the Lago Agrio Litigation.” Dkt. 1 ¶ 185; Dkt. 283 ¶ 199.

       When these frauds proved insufficient, the RICO Defendants moved on to Cabrera.

Dkt. 1 ¶ 113; Dkt. 283 ¶ 122. As Chevron alleged (and later proved at trial), the RICO Defend-

ants first “arranged for the Lago Agrio court to create a new ‘global assessment’ process and se-

cured the appointment of a coconspirator [Cabrera] to the position of the purportedly neutral

‘global assessment expert’ with whom they would work in secret to ghostwrite his report.”

Dkt. 1 ¶ 113; Dkt. 283 ¶ 122. “When Chevron raised questions with the Lago Agrio court as to

the authorship of the Cabrera Report and Cabrera’s relationship with the Lago Agrio Plaintiffs,

Cabrera [r]epresented in multiple filings with the Lago Agrio court that he had worked inde-

pendently and transparently despite evidence to the contrary.” Dkt. 1 ¶ 173; Dkt. 283 ¶ 187.

They then repackaged Cabrera’s report in the form of “seven new ‘expert’ reports [presented to]

the Lago Agrio court . . . .” Dkt. 1 ¶ 176; Dkt. 283 ¶ 190. As a key part of their “fraudulent

scheme” to exert pressure on Chevron, the RICO Defendants “continuously touted the findings

in the so-called ‘independent’ Cabrera Report . . . .” Dkt. 1 ¶ 221; Dkt. 283 ¶ 238.

       The Complaint alleged that “a judgment that finds Chevron liable and awards damages

appears to be imminent,” and that such a judgment would “disregard the evidence of fraud and

corruption . . . .” Dkt. 1 ¶ 295. Reviewing the allegations, the Second Circuit observed that

Chevron’s original Complaint “plausibly alleged facts from which it could be inferred that a

judgment imposing liability on Chevron would be traceable to the corrupt and fraudulent conduct

of those defendants; it plausibly alleged facts from which it could be inferred that such a judg-

ment was imminent.” Donziger, 833 F.3d at 123.




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          The corrupt, fraudulent judgment indeed was imminent. It issued on February 14, 2011,

just two weeks after Chevron filed its original Complaint. Chevron’s Amended Complaint, filed

on April 20, 2011, added supplemental factual allegations concerning the RICO Defendants’

ghostwriting of the then-recently issued Ecuadorian judgment.

          Specifically, Chevron’s Amended Complaint alleged that “[t]he RICO Defendants and/or

their co-conspirators were also closely involved in either the actual drafting of portions of the

188-page judgment or providing to Judge Zambrano—or whoever actually wrote the judgment—

on an ex parte basis material that is not part of the public record in the Lago Agrio Litigation.”

Dkt. 283 ¶ 326. In support of this allegation, Chevron alleged that “portions of the judgment rely

on information that was obtained from and exclusive to the ‘Selva Viva Database’—the same da-

tabase controlled by the RICO Defendants and their co-conspirators and the source of at least

two annexes of the Cabrera Report. The Selva Viva Database, however, is not part of the Lago

Agrio Litigation public record.” Id.

C.        The Evidence at Trial Proved the Truth of Chevron’s Allegations

          More than three years after Chevron filed its Amended Complaint, this Court conducted a

lengthy trial—hearing the testimony of 31 witnesses in person and the stipulated testimony of 37

others, and admitting and considering thousands of exhibits for both sides. On March 4, 2014,

the Court issued an opinion and judgment in favor of Chevron, and against the Appearing De-

fendants. Dkt. 1874 at 2; Dkt. 1875. The Second Circuit affirmed that judgment in all respects

on August 8, 2016, and the mandate issued on November 3, 2016. Dkt. 1914. The Supreme

Court denied certiorari on June 19, 2017. See Donziger v. Chevron Corp., 137 S.Ct. 2268

(2017).

          Each of the Defaulted Defendants—whether directly, vicariously through the acts of an

agent, or as a coconspirator—is liable for the entire fraudulent scheme proved at trial and dis-
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cussed at length in Chevron’s post-trial briefing (Dkts. 1847, 1855) and in this Court’s Opinion

(Dkt. 1874). Chevron incorporates those documents by reference here. See, e.g., Dkt. 1874 at

338 n.1304 (discussing vicarious liability).

       Though the Defaulted RICO Defendants did not appear at trial, they played a key role in

the conspiracy and scheme to extort Chevron, and some, including Pablo Fajardo, played an ac-

tive (albeit behind-the-scenes) role in litigating the case in this Court. Without rehashing the en-

tire factual basis of Chevron’s claims, this section highlights the Court’s findings, based on

overwhelming evidence, that confirm the truth of Chevron’s allegations with respect to the De-

faulted Defendants.

           1. The Evidence Confirmed Chevron’s Allegations About the Defaulted
              Defendants’ Fraud on the Court

       The Court found, with respect to Russell, that “the quantities he used in generating the

$6 billion figure were, he said, . . . ‘SWAG,’ an acronym for a ‘scientific wild ass guess.’”

Dkt. 1874 at 43 (quoting Russell trial testimony); see also Donziger, 833 F.3d at 86 (“Donziger

Attempts To Intimidate Chevron Into Settling by Trumpeting a Huge Remediation Cost Estimate

Based Only On ‘SWAG’”). The Court further found that “Russell’s $6 billion SWAG figure

quickly became a key weapon in Donziger’s effort to exert pressure on Chevron . . . .” Dkt. 1874

at 43. As for Dr. Calmbacher, the Court found that the “reports [that Calmbacher approved]

were not the reports that the LAP team eventually filed.” Id. at 55. Rather, “someone on the

LAP team used the blank pages Calmbacher had initialed and his signature pages to submit over

his name two reports that contained conclusions he did not reach.” Id. at 56-57.

       This Court further found that “Fajardo and Donziger coerced Judge Yánez to allow the

LAPs to terminate their remaining judicial inspections, to appoint a global expert, and to desig-

nate their hand-picked choice, Richard Cabrera, for that position. They did so by threatening


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him with the filing of a misconduct complaint at a time when he was especially vulnerable, and

by other pressure as well.” Dkt. 1874 at 324; see also Donziger, 833 F.3d at 92 (“Donziger Co-

erces Judge Yánez To Appoint a ‘Global’ Expert—Cabrera—Who ‘[W]ould [T]otally [P]lay

[B]all With’ the LAPs”) (alterations in original). The Court concluded that Fajardo and Yanza,

along with Donziger, planned and coordinated the ghostwriting of the Cabrera report. Dkt. 1874

at 76-108, 325-26, 333. The Court also found that Yanza participated in bribing Cabrera, whom

the LAPs paid improperly and outside the court process via the Frente’s secret account (id. at 89-

95, 385-86), and that Donziger, Fajardo, Yanza, and others discussed the details of the bribery

scheme via email (id. at 395). Further, the Court found that Fajardo and the Frente “trumpet[ed]

[the Cabrera Report] to the press as the work of an independent, court-appointed expert . . . false-

ly stress[ing] Cabrera’s ‘independen[ce]’ to maximize the leverage on Chevron, although they

well knew that the claim of independence was a lie.” Id. at 110 (citations omitted) (fifth altera-

tion in original); see also Donziger, 833 F.3d at 98 (“In order to enhance the false image of

Cabrera’s independence, Stratus proceeded, as instructed by Donziger, to prepare objections to

the Cabrera Report for submission to the court by the LAPs.”).

       The Court found that the fraudulent “Cabrera Report Was Material to the Judgment.”

Dkt. 1874-1 at 42; see also Dkt. 1874 at 325 (“[T]he Cabrera Report in fact was relied upon by

the author or authors of the Judgment . . . .”); Donziger, 833 F.3d at 103 (“The Lago Agrio

Judgment Drew Heavily on the Cabrera Report”). Even though the Lago Agrio opinion “states

that it did not take the Cabrera Report ‘into account to issue [the] verdict,’” this Court found that

the disclaimer was implausible and inadmissible hearsay. Dkt. 1874-1 at 42 (citation omitted)

(alteration in original). Most important to this finding was that the Judgment’s Pit Count, the

“largest single component of the $8.646 billion award against Chevron” (id. at 43), “came direct-



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ly out of the Cabrera report . . . .” Id. at 48. The Court similarly concluded that the Lago Agrio

judgment’s “potable water damages” and “reliance on the Barnthouse report” proved that the

“Cabrera Report was material to the Judgment . . . .” Id. at 54.

       The Court also found that “[t]he LAPs wrote the Judgment. Zambrano did not.” Dkt.

1874 at 219; see also Donziger, 833 F.3d at 104 (“Judge Zambrano Did Not Write the Lago

Agrio Judgment”); id. at 106 (“The Lago Agrio Judgment Was Written by the LAPs”). After

devoting nearly 100 pages of the Opinion to Chevron’s overwhelming proof of the ghostwriting,

the Court summarized its findings: “(a) Zambrano agreed with Fajardo to fix the case for a pay-

ment of $500,000 paid out of any judgment proceeds, (b) Fajardo did so with Donziger’s express

authorization, (c) the LAPs drafted all or most of the Judgment, and (d) Zambrano signed their

draft without consequential modification as part of the quid pro quo for the promise of

$500,000.” Dkt. 1874 at 281.

       The Court further found that throughout their fraudulent scheme, “Donziger, Fajardo, and

the other Ecuadorian and U.S. lawyers for the LAPs” acted in their capacity as agents of the

LAPs. Id. at 338 n.1304. The LAPs are therefore liable for their agents’ fraud, which was com-

mitted “within the scope of their actual or apparent authority.” Id. (citations omitted); see also

Donziger, 833 F.3d at 150 (“Given the collaborative actions of Donziger and Fajardo . . . to se-

cure the Lago Agrio Judgment for the LAP Representatives and the other LAPs, there was no er-

ror in the district court’s ruling that the LAP Representatives are responsible for injury to Chev-

ron perpetrated by Donziger in his capacity as their attorney.”). And even assuming Donziger

had no actual or apparent authority to commit misconduct on the LAPs’ behalf, the Court found

that the LAPs “knowingly ratified the misconduct . . . .” Dkt. 1874 at 338 n.1304; see also

Donziger, 833 F.3d at 150 (“[T]he LAPs in November 2010 granted Fajardo a new power of at-



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torney that expressly ratified all of his prior acts, direct or indirect, in pursuit of their litigation

interests.”).

            2. The Evidence Confirmed Chevron’s Allegations That the Defaulted RICO
               Defendants Played a Key Role in Carrying Out and Attempting to Cover Up
               the Fraudulent Scheme, and Were Part of a Criminal Enterprise

        The Court found that Fajardo, Yanza, and the LAPs’ team played an important role in

pressuring Ecuador’s Prosecutor General to bring criminal charges against former Texaco law-

yers. Dkt. 1874 at 119-23. Specifically, the Court noted Yanza’s role in getting “the endorse-

ment of the National Government to the Assembly of the Affected . . . .” Id. at 120 (citation and

quotations omitted). The Court also noted that Yanza and Fajardo “toured the Lago Agrio oil

fields” in a helicopter with President Correa, and that Correa “issued a press release that same

day calling upon the ‘District Attorney of Ecuador to allow a criminal case to be heard against

the Petroecuador officers who approved the’ Final Release.” Id. at 121 (quoting PX 489R). The

Court further found that “the LAPs[’] [attorneys and agents] were the driving force behind the

criminal case . . . .” Id. at 123.

        Fajardo also played a role in the scheme by filing his deliberately misleading declaration

in “fifteen Section 1782 proceedings in courts across the United States, including this one.”

Dkt. 1874 at 147 (citation omitted). The Court found that “[t]he Fajardo Declaration was highly

misleading. It failed to mention that Fajardo, with Donziger’s approval, had threatened the judge

with a misconduct complaint unless the judge agreed to their demands to cancel the LAPs’ re-

maining judicial inspections.” Id. at 143. Fajardo’s declaration also “failed to disclose that the

LAPs had made secret payments to Cabrera outside the court process.” Id. at 144. But the Court

noted that “[n]onetheless, the LAPs later told U.S. courts that, in filing the Fajardo Petition, they

had ‘fully disclosed’ their relationship with Cabrera.” Id. at 146. The Court further found that

Fajardo traveled to Donziger’s Manhattan apartment in order to “‘deal with various issues relat-
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ing to the Lago Agrio case,’” including drafting Fajardo’s declaration used in the Section 1782

proceedings. Id. at 440 (citation omitted).

        The Court also found that “the LAP team and its affiliates were a group of persons asso-

ciated in fact for the common purpose of pursuing the recovery of money from Chevron via the

Lago Agrio litigation, whether by settlement or by enforceable judgment, coupled with the exer-

tion of pressure on Chevron to pay.” Dkt. 1874 at 355. As relevant here, the Court found that

the enterprise included the Defaulted RICO Defendants. Id. The Court further found that “at

least Donziger, Fajardo, and Yanza conspired to violate RICO by conducting the affairs of the

enterprise through a pattern of racketeering.” Id. at 407.

                                          ARGUMENT

        By defaulting, the Defaulted Defendants have admitted their liability. Because the De-

faulted Defendants are liable and the Court has personal jurisdiction over them, the Court should

award Chevron equitable relief against all the Defaulted Defendants equivalent to the equitable

relief awarded against the Appearing Defendants. See Dkt. 1875 at 1-3.

A.      The Defaulted Defendants Have Admitted Their Liability by Failing to Respond

        By failing to timely respond, the Defaulted Defendants have admitted all of the factual al-

legations in Chevron’s original Complaint (Dkt. 1) and Amended Complaint (Dkt. 283), which

establishes their liability on Chevron’s claims as a matter of law.

        “It is an ‘ancient common law axiom’ that a defendant who defaults thereby admits all

‘well-pleaded’ factual allegations contained in the complaint.” City of New York v. Mickalis

Pawn Shop, LLC, 645 F.3d 114, 137 (2d Cir. 2011) (quoting Vt. Teddy Bear Co., Inc. v. 1-800

Beargram Co., 373 F.3d 241, 246 (2d Cir. 2004)). “[E]ntry of a default[] formalizes a judicial

recognition that a defendant has, through its failure to defend the action, admitted liability to the

plaintiff.” Id. at 128.
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        The Court can issue a default judgment as to liability based solely on these admissions.

Alternatively, the Court could exercise its discretion to “require proof of necessary facts” before

granting a default judgment. Au Bon Pain Corp. v. Artect, Inc., 653 F.2d 61, 65 (2d Cir. 1981).

Although Chevron has already presented the Court with that proof at trial, Chevron remains

amenable to submitting whatever additional proof the Court may require.

        Having established the Defaulted Defendants’ liability by virtue of their default, as well

as through the facts proven at trial, Chevron is now entitled to “entry of a default judgment,”

which “converts the defendant’s admission of liability into a final judgment that terminates the

litigation and awards the plaintiff any relief to which the court decides it is entitled . . . .” Micka-

lis Pawn Shop, 645 F.3d at 128 (footnote omitted). Here, as explained below, Chevron is enti-

tled to equitable relief against all of the defaulters equivalent to the relief awarded against the

Appearing Defendants.

B.      This Court Has Personal Jurisdiction Over the Defaulted Defendants

        It is an open question in the Second Circuit “‘whether a district court must investigate its

personal jurisdiction over [a] defendant before entering a default judgment.’” Id. at 133 (citation

omitted) (alteration in original); see also Sinoying Logistics Pte Ltd. v. Yi Da Xin Trading Corp.,

619 F.3d 207, 213 (2d Cir. 2010) (“[W]e agree with our sister circuits that before a court grants a

motion for default judgment, it may first assure itself that it has personal jurisdiction over the de-

fendant[.]”) (citations omitted) (emphasis added). To the extent the Court elects to do so here,

Chevron has already proven by at least a preponderance of the evidence at trial that this Court

has personal jurisdiction over the Defaulted Defendants. See Credit Lyonnais Sec. (USA), Inc. v.

Alcantara, 183 F.3d 151, 154 (2d Cir. 1999) (holding that before entering default judgment,

“[t]he plaintiff still must prove the jurisdictional facts by a preponderance of the evidence, either

at an evidentiary hearing or at trial”) (citation omitted).
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       1.      The Defaulted RICO Defendants

       The Court found sufficient facts, based on the evidence presented at trial, to establish per-

sonal jurisdiction over Fajardo and Yanza. In particular, Fajardo submitted false declarations to

various U.S. courts, including the Southern District of New York, in furtherance of Defendants’

scheme to harm Chevron while simultaneously trying to conceal their misconduct. Dkt. 1874 at

388-89, 142-47. As a necessary part of this plan, Fajardo traveled to Donziger’s Manhattan

apartment to draft his declaration and to “‘deal with various issues relating to the Lago Agrio

case[.]’” Id. at 440 (quoting Donziger Jan. 14, 2011 Dep. Tr. at 2794:10-20).

       This Court found that “Donziger informed Yanza of ‘two possible investors in New York

who can help us quite a bit with money now through the upcoming years’ with a potential in-

vestment of $10 million.” Id. at 438 (quoting PX 1063 (Sept. 9, 2008 Email from S. Donziger to

L. Yanza), at 1). And both “Fajardo and Yanza attended a meeting in New York to discuss the

Invictus Memo in mid-2010.” Id. at 439 (citation omitted). Fajardo and Yanza also signed the

January 2011 retainer agreement with Donziger (Mastro Decl., Ex. 6 (PX 558) at 12), making

them subject to personal jurisdiction through their agent’s actions for the reasons discussed more

fully below with respect to the defaulted LAPs, and for the reasons stated in the Opinion (Dkt.

1874 at 434-55).

       Fajardo and Yanza thus “transact[ed] . . . business within the state [of New York]” and

are subject to jurisdiction here. N.Y. CPLR 302(a)(1). Fajardo’s submission of false declara-

tions, and the LAP team’s obtaining financing were key parts of the conspiracy that Chevron al-

leged and proved. Chevron’s cause of action therefore arises out of Fajardo’s and Yanza’s con-

tacts with the state, and jurisdiction is proper. Chloe v. Queen Bee of Beverly Hills, LLC, 616

F.3d 158, 170 (2d Cir. 2010) (“[S]ection 302 ‘is a ‘single act statute’ and proof of one transaction

in New York is sufficient to invoke jurisdiction, even though the defendant never enters New
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York, so long as the defendant’s activities here were purposeful and there is a substantial rela-

tionship between the transaction and the claim asserted.’”) (quoting Kreutter v. McFadden Oil

Corp., 71 N.Y.2d 460, 467 (1988)).

       Fajardo and Yanza were also agents of Selva Viva and the Frente, acting on their behalf,

and those organizations, too, are subject to jurisdiction in New York. See Dkt. 1 ¶¶ 334-35; Dkt.

283 ¶¶ 370-71 (alleging that Fajardo and Yanza are agents of the Frente and Selva Viva); see al-

so Mastro Decl., Ex. 6 (PX 558) at 12 (retainer agreement with Donziger signed by the Frente).

           2. The Defaulted LAPs

       The Court already found that it has jurisdiction over the LAP Representatives, independ-

ent of the Court’s striking their personal jurisdiction defense, and the Court’s analysis applies

equally to the defaulted LAPs. Dkt. 1874 at 434-55.

       The Court found that “[t]he LAP Representatives have engaged in activities in New York

through Donziger—their attorney and agent—and otherwise since as far back as 1993 and ex-

tending up to and beyond February 2011 . . . .” Id. at 435. The defaulted LAPs also retained

Donziger at various times, including in the “January 2011 retainer agreement,” and he acted on

their behalf as well. Id.; Mastro Decl., Ex. 6 (PX 558) at 13 (listing each of the defaulted LAP

Defendants as a party to the agreement). The Court found that the retainer agreement “makes

clear the . . . extensive activity in New York, that the LAPs hired Donziger to perform.” Dkt.

1874 at 435. Among the key provisions were terms giving Donziger responsibility for “coordi-

nating the efforts to procure funding,” “assembling and organizing the various non-legal advi-

sors, experts service providers and others,” “coordinating the media [and] public affairs,” and a

term stating that “New York law [governs] the entire relationship.” Id. at 436-37 (quoting PX

558) (emphases in original).



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       The Court noted that Donziger’s office “has been the functional equivalent of the LAPs’

New York office.” Id. at 437 (citation omitted). Donziger performed many of his key duties un-

der the retainer agreement from New York, including “fundraising efforts for the LAPs” (id. at

438); “micromanag[ing] the Stratus operation” (id. at 439); “orchestrat[ing] the LAP team’s ef-

forts first to conceal and later to minimize the Cabrera fraud” (id. at 440); and “control[ling] . . .

the extraordinary media campaign waged against Chevron” (id. at 441) (citations omitted).

       Because Donziger’s actions in conducting business in New York are equally attributable

to the 45 defaulted LAPs as they are to Camacho and Piaguaje, the Court’s analysis and conclu-

sions under New York CPLR Section 302(a)(1) apply to the defaulted LAPs too. Dkt. 1874 at

443. The defaulted LAPs’ “very retention of Donziger constituted transacting business in New

York.” Id. at 449 (citation omitted). And the “New York governing law clauses further demon-

strate[] that the [defaulted LAPs] transacted business in the state and availed themselves of the

benefits and protections offered by New York’s laws.” Id. at 449-50 (citation omitted). Chev-

ron’s claim against the defaulted LAPs “arise[s] out of many of Donziger’s activities in New

York, including orchestrating the Cabrera Report, retaining Russell and later misusing his work,

recruiting Berlinger, coordinating and supervising Stratus, supervising the Ecuadorian lawyers,

meeting with Shinder concerning his Section 1782 representation, drafting and editing Fajardo’s

misleading declaration in the Section 1782 proceedings, work on the Invictus Memo, and engag-

ing in a public relations pressure campaign against Chevron.” Id. at 451.

       Therefore, personal “[j]urisdiction [over the defaulted LAPs] is proper under Section

302(a)(1).” Id. at 452.




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C.     Chevron Is Entitled to Equitable Relief Against All of the Defaulted Defendants
       Equivalent to the Relief Granted Against the Appearing Defendants

       Having established the Defaulted Defendants’ liability and the Court’s personal jurisdic-

tion, Chevron is entitled to equitable relief against all the Defaulted Defendants.

       Chevron alleged and proved a conspiracy—and an enterprise—whose purpose was to ex-

tort a payment from Chevron through improper means. Dkt. 1874 at 355. The idea that “there

might be one decree of the court sustaining the charge of joint fraud committed by the defend-

ants[,] and another decree disaffirming the said charge, and declaring it to be entirely unfound-

ed[,] is unseemly and absurd, as well as unauthorized by law.” Frow v. De La Vega, 82 U.S.

552, 554 (1872). As a matter of law, if one co-defendant is liable for this scheme, they all are.

See E. Coast Novelty Co., Inc. v. City of New York, 842 F. Supp. 117, 122 (S.D.N.Y. 1994)

(“[U]nder New York law, allegations of conspiracy are properly made for the purpose of estab-

lishing joint liability by coparticipants of independent tortious conduct.”) (citations omitted).

       Chevron proved at trial with reasonable certainty (and at least a preponderance of evi-

dence) that it “has suffered injury—and is threatened with additional and irreparable injury—in

consequence of defendants’ fraud and their efforts to enforce the Judgment that they fraudulently

obtained. It has no adequate remedy at law.” Dkt. 1874 at 469.

       As the parties stipulated during trial, Chevron has incurred millions of dollars in legal

fees to expose and defend against Defendants’ fraud and misconduct. Dkt. 1657 (Stipulation re

Attorneys’ Fees Incurred). Even if these harms are susceptible to monetary calculation, they are

irreparable here because the Defendants purport to be insolvent. Brenntag Intern. Chemicals,

Inc. v. Bank of India, 175 F.3d 245, 250 (2d Cir. 1999). Defendants also have shown an inten-

tion to evade payment, with the funding agreement among the Frente, the LAPs, and Treca Fi-




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nancial Solutions creating a foreign trust to keep any collected judgment proceeds beyond this

Court’s reach. Mastro Decl., Ex. 7 (PX 552) at 15-17; id., Ex. 8 (PX 3000) (Veiga) ¶ 138.

        Chevron, moreover, has suffered irreparable harm, as Defendants’ actions have imposed

on Chevron “significant, irretrievable costs in the form of diverted time, attention and focus of

Chevron’s management team from the Company’s paramount business of producing energy for

the United States and the world.” Id., Ex. 9 (PX 5800) (Zygocki) ¶ 20.

        The balance of hardships favors Chevron as the Defaulted Defendants will suffer no le-

gally cognizable hardship if the Court enjoins their fraudulent scheme. See Metso Minerals, Inc.

v. Powerscreen Int’l Distrib. Ltd., 788 F. Supp. 2d 71, 76 (E.D.N.Y. 2011) (inability to continue

infringement not cognizable hardship).

        And the public interest favors the grant of equitable relief because the Defaulted Defend-

ants’ fraud is “a wrong against the institutions set up to protect and safeguard the public, institu-

tions in which fraud cannot complacently be tolerated consistently with the good order of socie-

ty.” Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S. 238, 246 (1944) (“[T]ampering

with the administration of justice in the manner indisputably shown here involves far more than

an injury to a single litigant.”).

        The Second Circuit affirmed this Court’s conclusion that Chevron, lacking an adequate

remedy at law and faced with irreparable harm, is entitled to equitable relief. The Second Circuit

specifically held that “Chevron’s right to defend against enforcement actions [does not] provide

a basis for finding that it has an adequate remedy at law, given that the Donziger and Invictus

strategy is to inundate Chevron with such actions, forcing it to incur sizeable legal fees.”

Donziger, 833 F.3d at 143. That ruling applies with equal force to Chevron’s request for equita-




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ble relief against the Defaulted Defendants. See Fustok v. ContiCommodity Services, Inc., 873

F.2d 38, 40 (2d Cir. 1989).

       Therefore, the Court should grant Chevron the equitable relief detailed in its Proposed

Order of Default Judgment, filed concurrently herewith. The equitable relief should be equiva-

lent to that awarded against the Appearing Defendants, including, but not limited to: (1) impos-

ing “a constructive trust for the benefit of Chevron on all property . . . that [the Defaulted De-

fendants have] received, or hereafter may receive . . . that is traceable to the Judgment or the en-

forcement of the Judgment anywhere in the world”; (2) enjoining and restraining the Defaulted

Defendants from “[f]iling or prosecuting any action for recognition or enforcement of the Judg-

ment or any New Judgment” or “[s]eeking prejudgment seizure or attachment of assets based

upon the Judgment or any New Judgment . . . in any court in the United States”; and (3) enjoin-

ing and restraining the Defaulted Defendants “from undertaking any acts to monetize or profit

from the Judgment, as modified or amended, or any New Judgment[.]” Dkt. 1875 at 1-3.

                                         CONCLUSION

       Because the Defaulted Defendants have admitted Chevron’s allegations against them, and

because Chevron prevailed at trial against the Appearing Defendants, Chevron is now entitled to

a default judgment against the Defaulted Defendants. The Court should grant Chevron the fol-

lowing relief, as set forth in Chevron’s Proposed Order of Default Judgment:

           1) Equitable relief against all the Defaulted Defendants equivalent to the equitable

               relief awarded in the Opinion and Judgment (Dkt. 1874, 1875), including, but not

               limited to: (1) imposing “a constructive trust for the benefit of Chevron on all

               property . . . that [the Defaulted Defendants have] received, or hereafter may re-

               ceive . . . that is traceable to the Judgment or the enforcement of the Judgment an-



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              ywhere in the world”; (2) enjoining and restraining the Defaulted Defendants

              from “[f]iling or prosecuting any action for recognition or enforcement of the

              Judgment or any New Judgment” or “[s]eeking prejudgment seizure or attachment

              of assets based upon the Judgment or any New Judgment . . . in any court in the

              United States”; and (3) enjoining and restraining the Defaulted Defendants “from

              undertaking any acts to monetize or profit from the Judgment, as modified or

              amended, or any New Judgment, including without limitation by selling, assign-

              ing, pledging, transferring or encumbering any interest therein.” Dkt. 1875 at 1-3;

          2) All such other and further equitable or legal relief as this Court deems just.


Dated: April 6, 2018                                Respectfully submitted,

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